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   STATE OF COLORADO, ss:

          I,      Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
   o f Colorado, do hereby certify that
                         Marion Allison Rocker-Tuohy


has been duly licensed and admitted to practice as an


    ATTORNEY AND COUNSELOR AT LAW

within this State; and that his /her name ap pears upon the Roll of
Attorneys

 and Counselors at Law in my office of date the                    9th

day of     October                            A.D.      2007      and that at the date

hereof the said      Marion Allison Rocker-Tuohy                         is in good standing

a t this Bar.

                             IN WITNESS WHEREOF, I have hereunto subscribed my name and
                             affixed the Seal of said Supreme Court, at Denver, in said State, this

                                 10th         day of             September               A.D.   2024
